 

“w Case: 1:96-cv-04642 Document #: 5 Filed: 09/09/96 Page 1 of 6 PagelID #:69

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Se AAG UNITED STATES DISTRICT COURT S
CUNNINGHAM, Clerk = FOR THE NORTHERN DISTRICT OF ILLING#§jpr
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POOH-BAH ENTERPRISES, INC., et al., _)
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Plaintiffs, _)
) a
v. ) No. 96 C 4642
) a)
CITY OF CHICAGO, et al., ) Mahl dor
)
Defendants. )
NOTICE OF FILING sep |G i998

TO: Diane M. Pezanoski
Mary Beth S. Robinson
City of Chicago Law Department
30 North LaSalle Street, Suite 900
Chicago, Illinois 60602

PLEASE TAKE NOTICE that on September 6, 1996 we filed with the Clerk of the
United States District Court, Northern District of Illinois the following pleading:

PLAINTIFFS’ MOTION TO REMAND THIS ACTION, OR
ALTERNATIVELY, TO REMAND COUNTS I-VII AND X AND TO STAY
PROCEEDINGS ON COUNTS VIII AND IX PURSUANT TO 28 U.S.C.
§1441(c) ON ABSTENTION GROUNDS,

a copy of which is attached hereto and herewith served upon you.

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One of the Attorney for Plaintiffs
Robert J. Weber
221 N. LaSalle Street, Suite 3800
Chicago, Illinois 60601
(312) 782-1983

David A. Epstein

DAVID A. EPSTEIN, LTD.

30 N. LaSalle Street, Suite 3400
Chicago, Illinois 60602
312/553-1479

Attorneys for Plaintiffs

 

 
 

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CERTIFICATE OF SERVICE

I certify that I have this personally served the foregoing Notice of Filing and attached
Motion upon the attorneys for defendants as identified and at their office addresses set forth in
the foregoing notice on September 9, 1996 before 5:00 p.m. by personally delivering said copies
to their offices at 30 N. LaSalle Street, Chicago, Iinois.

 

One of the attorneys Yor Plaintiffs

 

 
 

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. BD UNITED STATES DISTRICT COURT
for THE NORTHERN DISTRICT OF ILLINOIS ,

   

EASTERN DIVISION

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rood oe RISES, INC., an Illinois corporation; s
ACE ENT , INC., an Illinois corporation;
PERRY MANDERA, President of Pooh-Bah Enterprises,
Inc. and Ace Ent. Company, Inc.; LISA D. SIMS,
CHRISTEN E. HADSALL, and SUSAN L. LJENOUIST,
entertainers and dancers; and PETER ABRUZZO,

Plaintiffs,

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v. ) No. 96 C 4642

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CITY OF CHICAGO, an Illinois municipal corporation;
RICHARD M. DALEY, in his official capacity as Mayor
of the City of Chicago; ‘and WINSTON MARDIS, in his
official capacity as Director of the Mayor’s License
Commission; the LICENSE APPEAL COMMISSION,
WILLIAM D. O’DONAGHUE, Chairman, ALBERT D. |! re be
McCOY and IRVING J. KOPPEL, Commissioners, oP .
)

#n.

Defendants,

PLAINTIFFS’ MOTION TO REMAND THIS ACTION,
OR ALTERNATIVELY, TO REMAND COUNTS I-VII AND X
AND TO STAY PROCEEDINGS ON COUNTS VIII AND IX
PURSUANT TO 28 U.S.C. §1441(c) ON ABSTENTION GROUNDS
Come now the plaintiffs, Pooh-Bah Enterprises, Inc., Ace Ent. Company, Inc., Perry
Mandera, Lisa D. Sims, Christen E. Hadsall, Susan L. Ljenquist and Peter Abruzzo, by
their attorneys, Robert J. Weber and David A. Epstein, and MOVE this Honorable Court to
remand this action to the Circuit Court of Cook County, Illinois in accordance with 28 U.S.C.
§1441(c) on the basis that (a) the state claims overwhelmingly predominate in this 10-count
action; and (b) the resolution of the state claims may moot the two federal (constitutional) claims
presented. Alternatively, plaintiffs request the Court to remand the eight state law claims
(Counts I, II, III, IV, V, VI and X) to the Circuit Court of Cook County and to stay proceedings

in this court on the two federal civil rights claims (Counts VIII and IX), pending disposition of

the state claims in the Illinois courts. JY

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In support whereof, plaintiffs respectfully state as follows:

1. This multi-count action has been pending in the Circuit Court of Cook County since
May 18, 1993. During the 3+ years of litigation in the Illinois court before the City of
Chicago’s removal effort, motions to dismiss original Counts I-IV were briefed, argued and
denied by the State court. Count V, a purely local and state law matter, was fully briefed to
Circuit Judge Jaffe when defendants, with leave, filed their Third Amended Complaint, and that
count (identical in the Third Amended Complaint) was ripe for decision by the State court at the

time of the City’s removal action.

2. Plaintiffs amended their state court complaint in 1996 to add, inter alia, federal free
speech, due process and equal protection claims predicated upon the change in liquor license law
articulated in the U.S. Supreme Court’s 1996 decision in 44 Liquormart, Inc. v. Rhode Island,
__ U.S. ___, 64 U.S.L.W. 4313 (1996). These are the only two federal claims in this case.
The Third Amended Complaint also added a State constitutional claim attacking and seeking to
invalidate the multiple City of Chicago "regulatory" ordinances and associated "license fees" that

are being applied against plaintiff Pooh-Bah and similarly situated liquor licensees (Count X).

3. Eight of the ten counts pending in this case are solely based on Illinois law or on City
of Chicago ordinance (which stands on the same state law footing). At least 6 of the 10 counts
are based on Illinois constitutional law. Two of the Counts present pure issues of construction

and application of City ordinances.

4. For the convenience of the Court, and for brevity, a chart summarizing the ten counts

of this action is appended as Exhibit A, and is incorporated in this motion.

5. Plaintiffs invoke the Pullman doctrine of abstention, and suggest that the Colorado
River doctrine also supports their request for this court to abstain from exercising its jurisdiction

over the entirety of this case or at a minimum over the state claims in this case.

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6. This motion will be further supported by a brief to be filed in support hereof in

accordance with such briefing schedule as the court may set.

WHEREFORE, plaintiffs request this Court to remand this cause to the Circuit Court of
Cook County, Illinois from which it was improvidently removed, or alternatively, to remand
Counts I-VII and X to the Circuit Court of Cook County and to stay proceedings on Counts VIII

and IX pending resolution of the remanded counts.
Respectfully Submitted,

POOH-BAH ENTERPRISES, INC., an_ Illinois
corporation, ACE ENT. COMPANY, INC., an Itlinois
corporation, PERRY MANDERA, President of Pooh-Bah
Enterprises, Inc. and Ace Ent. Company, Inc., LISA D.
SIMS, CHRISTEN E. HADSALL, SUSAN lL.
LJENQUIST and PETER ABRUZZO

By: bu pA

One of their attorneys

Robert J. Weber

221 N. LaSalle Street, Suite 3800
Chicago, Illinois 60601

(312) 782-1983

David A. Epstein

DAVID A. EPSTEIN, LTD.

30 N. LaSalle Street, Suite 3400
Chicago, Illinois 60602
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Attorneys for Plaintiffs

 

 

 
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